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            #           Case 1:24-cr-20411-DPG Document 9 Entered on FLSD Docket 12/10/2024 Page 1 of 1

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                                                             M IN UTE O RD ER                                                                                page4
                                                   M agistrate Judge Lisette M arie Reid
                            AtkinsBuildingCo'
                                            urthouse-3rd Floor                                  Date:12/9/24     Time;1:00pgm.
            Defendant: FelixNicholasNavarro       J#:50398-511                      Case#: Z4-CR-ZO4II-GAYLESISEALED)
            AUSA:-(@& X @4/a- H                           za               Attorney:J.V.'J rreb/y -v- p
            Vjolation: ACCeSSDeviceFraud/v grvatedldentityTheft/Theftof surr/ArrestDate:12/9/24                                           YOB:1982
'                               Governm entFunds
            Proceeding: InitialAppearance                                             CJA Appt:                                                     .



            Bond/PTD Held:C'Yes C'No                       Recommended Bond:
            Bond Setat:                                                               Co-signed by:
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                Nr' Nocontactwithvictims/witnesses,exceptthroughcounsel
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                         Curfew                pmto           aT,paidby                                             .
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             NExr COURTAPPEARANCE              oat :           Tim e:    .       Judge:                                           Place:
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             ReportRECou eI:                   (a 53               '                                            .
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             PTD/BondHearing:
             Prelim rraign rRemoval:$2 23                                                 .
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                                                        s/Lisette M arie Reid                                                 M agistrateJudge
